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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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                              July 24, 2023


Mr. Richard Hughes IV
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1227 25th Street, N.W.
Suite 700
Washington, DC 20037-1156

      No. 23-10326     Braidwood Mgmt v. Becerra
                       USDC No. 4:20-CV-283


Dear Mr. Hughes,
We filed your brief. However, you                   must   make     the     following
corrections within the next 14 days.
You need to correct or add:
The brief must include a statement stating all parties have
consented to the filing of the brief.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Renee S. McDonough, Deputy Clerk
                                  504-310-7673
cc:
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      Mr. Kwaku A. Akowuah
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